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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION


    IN RE:                                                MDL No. 2599

    TAKATA AIRBAG PRODUCTS LIABILITY                      Master File No. 15-2599-MD-Moreno
    LITIGATION

    THIS DOCUMENT RELATES TO
    PERSONAL INJURY TRACK CASES                           S.D. Fl. Case No. 1:15-cv-20664-Moreno


     ANGELINA C. SUJATA, et al.

                Plaintiffs,
     vs.

     TAKATA CORPORATION,
     TK HOLDINGS, INC.,
     HONDA MOTOR CO., LTD.,
     AMERICAN HONDA MOTOR CO., INC.,
     HONDA OF AMERICA MFG INC.,
     HONDA R&D CO. LTD.,
     BAYERISCHE MOTOREN WERKE AG,
     BMW OF NORTH AMERICA, LLC,
     BMW MANUFACTURING CO., LLC,
     NISSAN MOTOR COMPANY, LTD.,
     NISSAN NORTH AMERICA, INC., et al.,

                Defendants.

      PLAINTIFFS’ NOTICE OF VOLUNTARY DISSMISSAL WITHOUT PREJUDICE
                OF DEFENDANT BMW MANUFACTURING CO., LLC

           Pursuant to Fed.R.Civ.P. 41(a)(1)(A)(i), the Plaintiffs hereby dismiss without prejudice

   Defendant BMW Manufacturing Co., LLC, and that Defendant only, in Plaintiffs’ Second

   Amended Consolidated Personal Injury Track Complaint [Doc. 71], with each party is to bear its

   own attorneys’ fees and costs.
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                                        Respectfully submitted,

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                                     Plaintiffs’ Steering Committee
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                                    CERTIFICATE OF SERVICE

          I hereby certify that, on July 17, 2015, I electronically filed the foregoing document with

   the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being served

   this day on all counsel of record or pro se parties identified on the attached Service List in the

   manner specified, either via transmission of Notices of Electronic Filing generated by CM/ECF or

   in some other authorized manner of those counsel or parties who are not authorized to receive

   electronically Notices of Electronic Filing.




                                                       s/_Curtis B. Miner________________
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